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                              UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

                                CASE NO. 6:11-cv-1971-Orl-36TBD

ARLENE T. OSBORNE,

                   Plaintiff,
vs.

FOURTEEN HUNDRED OFFICE
CONDOMINIUM, INC.,

                   Defendant.                      /

            STIPULATION FOR APPROVAL OF SETTLEMENT AGREEMENT
                   AND DISMISSAL OF CASE WITH PREJUDICE

         Plaintiff and Defendant, by and through undersigned counsel, hereby move this Court to

approve the Settlement Agreement attached hereto as Exhibit “A”.

         Pursuant to Title III of the Americans with Disabilities Act, this Court is authorized to

enter an order approving a settlement agreement requiring a public accommodation, when

readily achievable, to alter facilities to make such facilities readily accessible to and usable by

individuals with disabilities to the extent required by the Americans with Disabilities Act

Accessibility Guidelines (“ADAAG”).

         WHEREFORE, Plaintiff and Defendant respectfully request this Court to approve the

attached Settlement Agreement, retain jurisdiction to enforce the terms of the Settlement

Agreement and dismiss the case with prejudice.

         Respectfully submitted,




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For the Defendant                         For the Plaintiff

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